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MY DIRECT DIAL IS: 914-872-6920
E-MAIL ADDRESS: JOSEPH.DIPALMA@JACKSONLEWIS.COM
                                                                  October 16, 2020

Via ECF- Letter Motion

The Honorable Katherine Polk Failla
United States District Judge
                                                                               MEMO ENDORSED
United States District Court, Southern District of New York
40 Foley Square
New York, New York 10007
                                                        Re:                    Girotto v. LXC, Inc. et al.
                                                                               Case No.: 19-cv-02858-KPF

Dear Judge Failla:

                 We represent Defendant, 162 West Realty LLC, in the above-captioned matter. We write
jointly with Plaintiff’s counsel, Brad Weitz, Esq., and co-defendant’s counsel, David Yan, Esq., in
accordance with Your Honor’s July 23, 2020 Order. At this time, the parties are jointly requesting an
extension of the existing stay in this matter.

                 As we stated during the Initial Conference, due to the ongoing national health crisis caused
by the COVID-19 pandemic, coupled with the mandated closure of non-essential public businesses in New
York City, which has adversely affected the business in this matter, it is very difficult for the parties to
proceed in this matter with discovery and productive settlement negotiations at this time.

                 Therefore, the parties jointly hereby respectfully request that the Court grant an additional
sixty (60) day stay of all deadlines and/or any conference in this matter. The undersigned has conferred
with all counsel who join in on this request. We thank you for your attention and consideration.

                                                                  Respectfully submitted,

                                                                  JACKSON LEWIS P.C.

                                                                  /s/ Joseph J. DiPalma
                                                                  Joseph J. DiPalma
cc: All counsel (via ECF)
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Application GRANTED. This action will remain STAYED through December 23, 2020.
The Court ORDERS the parties to submit a joint status letter on or before that
date.

Dated:   October 16, 2020                SO ORDERED.
         New York, New York



                                         HON. KATHERINE POLK FAILLA
                                         UNITED STATES DISTRICT JUDGE
